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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF DELAWARE

  NO LABELS,

        Plaintiff,
                                                      Case No. 1:23-cv-01384-GBW
  v.

  NOLABELS.COM INC.,

        Defendant.


                         DECLARATION OF SAMANTHA BROOKS

        I, Samantha Brooks, of San Diego, California, do hereby declare and state the following

based on first-hand knowledge:

        1.      I am Vice President at No Labels since July 2020. I have a bachelor’s degree in

marketing from Olivet Nazarene University.

        2.      I submit this declaration in further support of Plaintiff’s Application for

Temporary Restraining Order and/or Motion for Preliminary Injunction based on my

information, knowledge and belief and the records in this matter.

        3.      If called as a witness, I could and would testify competently to the information

detailed in this declaration.

        4.      On Thursday, December 7, 2023, from my home office located in San Diego,

California, I accessed the internet, utilized the Google Chrome Browser, and searched the phrase

“no labels 2024.”

        5.      In reviewing the search results, I observed that the site for “Nolabels.com[.]”

received the number one ranking and was designated at the top of the list of sites that came up

following my search. The result further indicated that it was “Paid for by NoLabels.Com Inc[.]”
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A screen shot that shows the search term I entered, and the results provided is attached hereto as

Ex. A.

         6.    I declare under penalty of perjury as provided by law that the statements

contained in this declaration are true and correct to the best of my knowledge and belief.

   EXECUTED this 14th day of December, 2023 in San Diego, California.



                                                     ____________________________
                                                          Samantha Brooks




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                      EXHIBIT A
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